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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              )
MARK MEADOWS,                                 )
                                              )
                Plaintiff,                    )
                                              )
       v.                                     )       Case No. 1:21CV3217 (CJN)
                                              )
NANCY PELOSI, et al.,                         )
                                              )
                Defendants.                   )
                                              )

                PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY

       Pursuant to the Court’s instruction to keep it apprised of developments in relevant cases,

Plaintiff files this Notice of Supplemental Authority regarding the DC Circuit’s order dismissing

Republican National Committee v. Pelosi and vacating the district court’s judgment.1

       On September 16, 2022, the DC Circuit issued a per curiam order dismissing the case as

moot and vacating district court’s opinion below. See Republican National Committee v. Pelosi,

et al., No. 22-5123, Per Curiam Order (D.C. Cir. September 16, 2022). The Court specifically

noted that it was vacating the opinion below to avoid resolving unsettled questions of constitutional

law, writing,

       Based on the express representations made in the September 2 motion, we conclude
       that the RNC’s appeal has become moot. Because the Committee caused the
       mootness and thereby deprived us of the ability to review the district court’s
       decision, and given the important and unsettled constitutional questions that the
       appeal would have presented, we vacate the district court’s judgment. See, e.g., N.
       Cal. Power Agency v. Nuclear Regul. Comm’n, 393 F.3d 223, 225 (D.C. Cir. 2004)
       (vacatur is the standard form of relief when “the actions of the prevailing party


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 The United States District Court for the District of Arizona also dismissed a case involving the
Select Committee after the conclusion of briefing in this case. See Ward v. Thompson, No. CV-
22-08015-PCT-DJH, 2022 WL 4386788, at *1 (D. Ariz. Sept. 22, 2022). Ward concerns the
Congressional Defendants’ sovereign immunity, which is not at issue in Mr. Meadows’s suit. The
opinion does not address any of the questions presented here.
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       ended the controversy”); Clarke v. United States, 915 F.2d 699, 708 (D.C. Cir.
       1990) (en banc) (ordering vacatur for “avoidance of constitutional questions”).

       The parties in this case have repeatedly cited the lower court opinion in Republican

National Committee, which directly addresses the issues of the Select Committee’s composition

and its legislative purpose. See Republican Nat'l Comm. v. Pelosi, No. CV 22-659 (TJK), 2022

WL 1294509, at *15–*19 (D.D.C. May 1, 2022). In that opinion, Judge Kelly concluded that the

court must defer to Congress on the interpretation of the Select Committee’s rules and that the

Select Committee had articulated a valid legislative purpose. Id. Defendants have relied heavily

on these holdings, particularly in their Reply in Support of Summary Judgement. See ECF No. 35

at 1, 18, 20, 22–24, 33. The vacatur of the district court’s decision removes key support for

Defendant’s arguments on the questions of committee composition and legislative purpose.



Dated: September 27, 2022                          Respectfully submitted,
                                                   MARK MEADOWS
                                                   By Counsel

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                               CERTIFICATE OF SERVICE

       I certify that, on September 27, 2022, a copy of the foregoing was filed on the Court’s

CM/ECF system, which will send notification to all counsel of record.

                                                   /s/ George J. Terwilliger III




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